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IN ‘"—HE UNITED STATES DISTRICT COURT
Ciork, U.S. District Court

SOUTHERN DISTRICT OF TEXAS Souter District ot Foxns
CORPUS CHRISTI DIVISION
MUL 21 2016
MICHAEL GARRETT, PLANTIFF Devid J. Bradiey, Clerk of Court
in behalf of class action
v- CIVIL ACTION NO.

WILLIAM STEPHENS, RESPONDENT
OSCAR MENDOZA, RESPONDENT
CRYSTAL RODRIGUEZ, RESPONDENT

AFFIDAVIT
I, Michael Garrett of sound mind am over 21 yrs. of age. I am a class member
incarcerated in ‘'DCJ-CID in Bee County. This affidavit is brought in good
faith and I have personal Knowledge to the incident.

TDCJ-CID and designees are hosting a riskful and hazardous living environ-
ment. The living quarters (cells) rain water into such areas. Thus such causes
flooding or holding water.

2) Grievances have been exhausted accordingly to meet Rule compliance of

the Court. (2016055760; 2016162481; and 2016153937)

3) Cristina Quintanilla, Nurse Patient Care Assistant and COII Carios Sanchez
Jr. are direct witnesses to the incident to support. claim.

4) Cpt. Ambriz was acting duty warden on 31 May 2016, whom authorized transport
to hospital to treat plaintiff.

5) RN Daniel Dominguez, Medical Attendant on call) with LVN Inpca Evans attend
ing plaintiff and readying for transport to hospital.

6) Plaintiff was treated via pain medicine pills and shot to eleviate pain
and to relax muscles.

7) Verifying records and reports are in the custody control and care of TDCJ-
CID McConnell Unit and Beeville Christus Spohn Medical.

8) Plaintiff has notified TDCJ-CID and designees in atempt to remedy the
hazardous living quarteres, however they nave failed to condemn until such
conditions are cured and fixed 100%.

9) Nominal against Crystal Rodriguez.

10) Injunctive and Declaratory relief are sought against all. respondents.

11) Patricia Benoit, Risk and Saftey Personel holds records and documents

as well as interviewed about such harsh living conditions.

12) Plaintiff is seeking certification for this class action, and appoint-
ment of counsel.

13) Plaintiff is indigent and without means. A six month printout from TDCJ-
CID agency is attached with verification.

This affidavit is true correct and complete under penalty of perjury.28 USCA
1/46.

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SOUTHERN DISTRICT OF TEXAS
CORPUS CHRISTI DIVISION
MICHAEL GARRETT, PLAINTIFF
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JURISDICTION AND VENUE

This is a class action suit authorized by 42 USCA $$1983 and Federal Rules
of Civil Procedure Rule 23, to redress the deprivation under color of [state
and federal] law. Rights secured by the Constitution of the United States.
This Court has jurisdiction and venue under 28 USC $1331, 1343(a)(3) and
1391. Plaintiff seek Injunctive and Declaratory relief pursuant to 28 USC§$
2201 and 2202, and Rule 57 and 65.

Planintiff(s)

Plaintiff, Michael Garrett is a member to the class and at all times ment-

ioned a prisoner of the Texas Department of Criminal Justice in Beeville,Tx.
Respondents

Repondent, William Stephens, TDCJ-CID Director, is legally responsible
for the operation of TDCJ-CID and for the welfare of all the inmates of TDCJ-
CID. He is sued in his official capacity at ail times mentioned in this complaint.

Oscar Mendoza, Risk Management Director TDCJ-CID, is legally responsible
for the saftey operation of TDCJ-CID. He is sued in his official capacity
at all times mentioned in this complaint.

Crystal Rodriguez, Risk Manager Officer of McConnell Unit TDCJ-CID, is
legally responsible for saftey and hazard and well being of all inmates of
that prison. She is sued in her official capacity as well as individual,
at all times mentioned in this complaint.

EACH RESPONDENT ACTED UNDER THE COLOR OF LAW.

FACTS

At all times relevant to this case, Plaintiff has been incarcerated since
1992.

On the 3lst May 2016, Plaintiff was asleep, and upon him being awakened
to receive mail (delivered to his cell door, 8bldg Jpod 50cell), was unaware
that due to the building(s) leaking rain water in to the cells, as he stood
up, taking a step, he slipped on the flooded wet cell floor. Plaintiff's
feet, both coming off the floor, caused nim to land on the floor. Plaintiff

hit his upper back, neck, and head on the cement floor. In doing so, Plaintiff
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loss consciousness. Witnessing the entire incident were COII Carlos Sanchez
Jc. and Nurse Patient Care Assistant, whom was walking with COII Sanchez,
so she could dispense medicine.

Upon witnessing Plaintiff's tall COII Sanchez initiated assistance for
medical support. Plaintiff learned of the details later.

Plaintiff was attended to by Nurse Evans as he was regaining his consciousness.
Plaintiff was soon stablized and secured so that he could be moved to medical
on the facility. Immediate preparations were made by R.N. Daniel Dominguez
to transport Plaintiff to Beeville Christus Spohn Hospital. The necessary
precaution was to ensure Plaintiff did not sustain nermenant or anv other
damage to his neck and head.

At tha Hospital a C.T. Scan and X-Ray were canducted- Plaintiff was aiven
medicine and a shot to eléviate pain and to relax his muscles. Plaintiff
was initially cleared to rekurn back to the prizon facility. Ultimately Plaintiff
did not sustain permenant injuries.

Plaintiff has grieved the inhuman living conditions about the cells leaking
rain water and thus flodding the cells. Ms. Patricia Benoit has made complaints
to her supervisor, Crystal Rodriguez about the imposing dangers and extreme
hazards. However no corrective measures have nor had been taken.

Plaintiff has tried to remedy this solution futher by trying and contacting
Rodriguez's supervisor in Huntsville, Tx., TDCJ-CID Director and Risk Managment.
No remedy to avail this inhuman living conditions, which poses an immenient
risk of danger and extreme serious harm to plaintiffs, has been responded

to reasonably.
LEGAL CLAIMS

The class action member has continouly been subjected and forced to live
in such endangerous conditions. The continual denial of preventive measures
to ensure a risk free, hazardous free enviroment reates the 8th Amend. USCA
violation, and 14th Amend. Said member's right of liberty to be free of life
endangering conditions are being violated of their constitutional established
safe guarded rights. Wilson,50]1 U.S. 294(1991); Helling,509 U.S. 25(1993);
Farmer,511 U.S. 825(1994).

Respondents acts arise from under the color of law which create adeliberate
indiffernce. Cantu,293 F.3d 839(5CA 2002); Hare,135 F.3d 320,325(5CA1998).

Respondents deliberate failure to maintain and ensure the fixtures thru
maintenance and to ensure the welfare of Plaintiffs by allowing such substatial
risks of danger and hazard is inhumane. The forcing of one to live in the
unsafe and extreme conditions is cruel and unusual punishment and treatment.

The blatant disregard to operate a safe and risk free enviroment shows

callous deliberate indifference on Plaintiff's constitutional rights and
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show causation of deliberate obdurancy to use the shield of law unrighteously.

City of Canton,109 S.Ct. 1197(1989).
EXHAUSTION COMPLIANCE

Grievance numbers 2016055760; 2016162481; and 2016153937 were all with
the time limitation exhaustion compliance rule.

CONCLUSION

The specific facts are matter in controversy which arises under Rule 23
and 42 USC §1983, Erickson,127S.Ct. 2197({(2007), and Neitzke,109 S.Ct.1827(1989) .

Plaintiff seeks the courts relief for Injunctive and Declaratory upon all
respondents.

Pursuant to Rule 68 argually and agreeing to condemn the unsafe cells thru
out TDCJ-CID which leak and flood rain water into living quarters until recon-
struction fixture is made at 100%.

Nominal relief imposed upon Crystal Rodriguez and any other relief deemed

by the court. Recovery and Cost of legal fees pursuant to 42 USC 1988 and

any other additional relief this court deems just proper and equitable.

Executed /J July 20% Michael Garr
VERIFICATION

I, Michael Garrett a class member of this suit verify that the above and
following is true corect and complete under penalty of perjury.28 USC 1746.
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CERTIFICATE OF SERVICE

I, Michael Garrett. certify that the attached affidavit and 1983 suit has
been serviced via US POSTAGE prepaid first class to the following:
William Stephens
861-B I-45N
Huntsville, Tx.77320

Oscar Mendoza

861-B I-45N
Huntsville. Tx.77320
Crystal Rodriguez
3001 S-.Emily Dr.
Beeville, Tx. 78102

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MICHAEL GARRETT
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3001 S. Emily Dr-.(ML)
Beeville, Tx.78102
          

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ADDITIONAL

 

 
 

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